      Case 20-12616-mdc         Doc 115
                                      Filed 10/19/23 Entered 10/19/23 15:14:04                 Desc Main
                                     Document Page 1 of 1
                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       REELLE K WITHERSPOON



                              Debtor                Bankruptcy No. 20-12616-MDC



                                                    ORDER

       AND NOW, upon consideration of the Motion to Dismiss Case filed by Kenneth E. West, Standing
Trustee, and after notice and hearing, it is hereby ORDERED that this case is DISMISSED and that any wage
orders previously entered are VACATED.

        IT IS FURTHER ORDERED if the case has been confirmed and the Trustee is holding funds, any
undisbursed funds held by the Chapter 13 Trustee from payments made on account of the Debtor(s)’ plan shall be
refunded to the Debtor(s) unless a party in interest files a Motion for Alternative Disbursement within 21 days of
the entry of this Order.


    Date October 19, 2023                      ______________________________
                                               Chief Honorable Magdeline D. Coleman
                                               Bankruptcy Judge
